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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES                      :
                                   :
v.                                 :     CASE NO. 3:97-cr-48 (RNC)
                                   :
ERNESTO BERNARD                    :



             ORDER GRANTING MOTION FOR COMPASSIONATE RELEASE

     Defendant Ernesto Bernard has moved for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A).        For the reasons

set forth below, the motion is granted. 1

     In 1999, Mr. Bernard was the lead defendant in a large RICO

conspiracy case against members of the Latin Kings in

Connecticut.    Prior to trial, he pleaded guilty to participating

in the conduct of the affairs of the Latin Kings through a

pattern of racketeering activity in violation of 18 U.S.C.

§ 1962(c).    The racketeering activity to which he pleaded guilty

encompassed conspiracy to distribute and possess with intent to

distribute heroin, cocaine, and cocaine base in Bridgeport;

conspiracy to distribute and possess with intent to distribute

heroin in New Haven; and robbery.      The plea agreement

contemplated that Mr. Bernard would receive credit for

acceptance of responsibility based on his guilty plea, but the



1 Mr. Bernard has separately moved for relief under the First
Step Act. That motion is hereby denied as moot.
                                   1
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Court declined to give him such credit because of his refusal to

acknowledge his role in the attempted murder of a cooperating

witness.    Without credit for acceptance of responsibility, the

Guidelines called for a sentence of imprisonment of 360 months

to life.    Mr. Bernard was sentenced to 405 months followed by 60

months of supervised release.     He has served 276 months in real

time, which is the equivalent of 324 months with accumulated

good-time credit.

     Compassionate release is authorized by 18 U.S.C.

§ 3582(c)(1)(A), which, as modified by the First Step Act,

provides:

     the court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights
     . . . , may reduce the term of imprisonment . . . , after
     considering the factors set forth in section 3553(a) to
     the extent that they are applicable, if it finds that
     . . . extraordinary and compelling reasons warrant such
     a reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission. 2

A number of courts have concluded that the dangers posed by the

novel coronavirus can constitute extraordinary and compelling

reasons warranting compassionate release consistent with the

Sentencing Commission’s applicable policy statements.         See

United States v. Delgado, -- F. Supp. 3d --, 2020 WL 246485, at




2 There is no debate that Mr. Bernard has satisfied the
exhaustion requirement.
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*3 (D. Conn. Apr. 30, 2020) (“Since the outbreak of the COVID-19

pandemic, numerous courts within this Circuit have held that a

defendant’s pre-existing health conditions – especially

respiratory conditions – in combination with the increased risks

of COVID-19 in prions constitute ‘extraordinary and compelling

reasons’ warranting relief.”).

     Mr. Bernard is 57 years old, and BOP has determined that he

is at “high risk” of serious illness or death were he to

contract COVID-19.    BOP’s determination is supported by a

combination of preexisting medical conditions.        Mr. Bernard

appears to have hypertension based on consistently high blood

pressure readings.    He at one point suffered from Hepatitis C.

While he no longer tests positive for that disease, it appears

to have caused some permanent liver damage.        He continues to

show the effects of a neurological injury he sustained when

attacked by another prisoner, which increases his risk of

suffering a stroke.    And he has chronic periodontal disease,

which puts him at an increased risk of secondary bacterial

infections.

     In deciding whether to grant compassionate release, a court

must consider the factors set forth in 18 U.S.C. 3553(a).          Those

factors include the nature and circumstances of the offense and

the history and characteristics of the defendant; the need for

the sentence to reflect the seriousness of the offense, promote

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respect for law, and provide just punishment; the need for

specific and general deterrence; and the need to protect the

public from further crimes of the defendant.

     In this case, these factors weigh in favor of granting

compassionate release.    Mr. Bernard’s rehabilitative efforts

while in BOP custody have been nothing short of extraordinary.

In particular, he has demonstrated extraordinary rehabilitation

through his participation in and leadership of victim impact

courses.   During a hearing on the present motion, Mr. Bernard

expressed genuine, heartfelt remorse for his criminal conduct.

He explained that as a result of his involvement in the victim

impact program, he is able to empathize with others, which he

never did before.   BOP records confirm that his participation in

the victim impact program has been transformative.

     In addition, Mr. Bernard has now accepted responsibility

for the full extent of his wrongdoing as the head of the Latin

Kings in Connecticut.    Had he received credit for acceptance of

responsibility at the time of sentencing, his Guidelines range

would have been 292 to 365 months of incarceration, rather than

360 to life.   As noted above, he has already served 276 months,

which equates to 324 months with credit for good time.

     Accordingly, it is hereby ordered:

     1. The motion for compassionate release is granted and Mr.

       Bernard’s term of imprisonment is reduced to time-served.

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2. Mr. Bernard will be released from the custody of the

     Bureau of Prisons forthwith.

3. Upon his release from custody, Mr. Bernard will self-

     quarantine for a period of 14 days.

4. If Mr. Bernard experiences symptoms associated with

     COVID-19, he will endeavor to be tested.      If he tests

     positive, he will inform the BOP.

5. All terms of Mr. Bernard’s supervised release will

     remain in effect, subject to an application by Mr.

     Bernard or the Probation Office for appropriate

     modification.

6.    All terms of the Judgment remain in effect except as

expressly modified by this order.



So ordered this 4th day of August, 2020.

                            ___________/s/ RNC___________
                                 Robert N. Chatigny
                            United States District Judge




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